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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION



JON CARNLEY, ON BEHALF OF
THEMSELVES AND ALL OTHERS                      §
SIMILARLY SITUATED; JACKIE                     §
DENSMORE, PAUL KATYNSKI,                       §
JENNIFER KREEGAR, HAROLD                       §      Civil Action No. SA-19-CV-01075-XR
MCPHAIL, JB SIMMS, KENNETH                     §
TILLMAN, JOE ALMON, CYNTHIA                    §
CLARK,
                                               §
       Plaintiffs,                             §
                                               §
v.                                             §
                                               §
CONDUENT BUSINESS SERVICES,                    §
LLC, COMERICA, INC., COMERICA                  §
BANK,
                                               §
      Defendants.                              §


                                           ORDER

        On this day the Court considered the status of this case. On September 28, 2022, the
Court administratively closed this case pending the approval of a method and form of class
notice. ECF No. 83. On December 22, 2022, Plaintiffs filed a motion to approve the method and
form of notice to the classes. ECF No. 85. Accordingly, the Court concludes that this case should
be reopened.

       The Clerk is directed to RE-OPEN this case.

       It is so ORDERED.

       SIGNED January 30, 2023.




                                                    XAVIER RODRIGUEZ
                                                    UNITED STATES DISTRICT JUDGE
